Case 5:18-cv-00059-DCB-MTP Document1 Filed 05/24/18 Page 1 of 4

FORM TO BE USED BY PRISONERS IN FILING A COMPLAINT UNDER THE CIVIL RIGHTS ACT, 42 U.S.C, § 1983
IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

ROSIE LAG
(Lagt Name) entifjcation Number)
Oenakias fp LI

wi Min sons

(Institution)

9947 WA OL AM)

(Address)

(Enter above the full name aot plaintiff, prisoner, and address : ‘ ey ol! TP
pPlaintiffia this action) , ay ft Si: % ” CN s. \9 = pc B mM

CIVIL ACTION NUMBER: A3 d “KP

(to be completed by the Court)

COMPLAINT

(Enter above the fall name of the defendant or defendants in this actlan)

(Agar 33 ee OTHER LAWSUITS FILED BY PLAINTIFF |

he

NOTICE AND WARNING:
The plaintiff must fully complete the following questions, Failure to do so may result in your case being dismissed.

A. Have you ever filed any other lawsuits in a court of the United States? _ aD So - ea Fes ( \4-No ee

B. — Ifyour answer to A is yes, complete the following information for each and every civil action and appeal filed by you. (If there
: is more than one action, complete the following information for the additional actions on the reverse side of this page or
- additionalsheets of paper.)--

-1, . ....Parties to the wind UNL GUM Mamueg Bi tN.

2. Court pLiecedecal court, name the district; if state court, name the ws AIMED OS ich
WISE fpf.
3. ne Docket Number: SNA gt

AF >.
Anes Name ofjudge to whom case was assigned: WY LUCY. ;
5. Disposition . ( exapygle, Wiking dismissed? If so, a grounds? Was it appealed? Is it still
pending?): Ss SHI

Case 5:18-cv-00059-DCB-MTP Document1 Filed 05/24/18 Page 2 of 4

PARTIES

{In item I below, place your name and prisoner number in the first blank and place your present address in the second blenk..Do the same

~~” for additional plaintiff, if any).

I. Name of plaintiit: ia: a 1 A Wie Prisoner Number: LOGY

Address: IF Hs ti CL Mel uo DEELEY:

(In item II below, place the full neme of the defendant in the Grst blank, his official position in the second blank, and his place of
employment in the ‘third blank. Use the space below item II for the ‘names, positions, and places of employment of any additional

defendants.)

Il. Defendant: Dod CU Y lilbc], exe isemployedas.
Wathen Lyf ign wwlkinson Gung

Qhtitin td.

The plaintliZis responsible for-providingthe court the names and address of each plaintiff(s) as welLas the name(s) and address(es)

_ of each defendant(s). Therefore, the plaintiff ts required to complete the portion below:

PLAINTIFP;

EI,

Case.:5:18-cv-00059-DCB-MTP Document1 Filed 05/24/18 Page 3 of 4

GENERAL INFORMATION

A. At the time of the incident complained ofin this complaint, were you incarcerated because youb had been vonvicted of a crime?
Yes ( VY, "No (
B. Are you presently incarcerated for a parole or probation violation?
Yes ( % No (
c. At the time of the incident complained of in this complaint, were you an inmate of the Mississippi Department of Corrections
(MDOC)?:
Yes{ K “No (
D. Are you curpently dn inmate of the Mississippi Department of Corrections (MDOC)?
A. Yes.¢ A ve - +) Mo pote dedUas iss chad bona comyiutus! ofa erties?
E. Have you) completed the Administrative Remedy Program regarding the claims presented in this complaint?
Yes (40 pi-ssNo(-_ ), ifso, state the results of the procedure:
weed woo
F. If'yon axe not an inmate,of.the Mississippi Department of Corrections, answer, the:fellawing: questions: romnt af Cotreciions
OO
Q pot Oia you present the facts relating to your complaint to the administrative or grievance procedure ir in your institution?
~ Yes( ) No )
wy, FM aks,

4. State the result of the procedure:

2 " State how your were ihi§ request, request for forms): n> Wha 4 r
Welk wh tn “

yoy grec ag his compiaini?

3. ' ” State the date your claims were presented: A p 1) 1 4, 20te EE Eee ee

yeu ore nay: 5 “hag . rag Whee tal gate p eth Gagt igen tare gyi

Phd yw Po £ Ge pas Chugh ct eae. prowedure da yeer imsiution’?

‘:

\

4 +

Slate Mpieot Of Sarasa}: a
at
what .

Take a -
Stabs : .

“ee Gre, Tey thew FES eee fas

STATEMENT OF CLAIM

State heye as briefly as possible the facts of your case. Describe how each defendant is involved. Also, include the names of
other persons involved, dates, and places. Do not give any legal arguments or cite any cases or statutes. If you intend to allege
a number of different claims, number end setforth eech claim in 2 separate paragraph. Us se as much space es younced; ‘attach

extra sheet ifnesessary.)
7 HA WS, fi, in El wd Yd biked, Mew

kbc! Gp tig Me kets an Med aaty Mitton the Wek
on Out. Lamb lame hr alba” ra tp tid hae
G, L bin Hl fl ”O Ends boetL CEL C4 Me?
bee Vad Cea CME

tog theteds

RELIEF

We State what relief you seek from the court. Maire uo is Ke ®. arguments. Cite no cases or statutes.

in aly "Yl SDM MEE , Ciygpne T wus gfe mT ind
Moot btec4un Hiv Me, wos Mote Meaft
Y tn Ot, oy Y) OY CO pb. KA hehinaf acts oe

Hata

Signed wis AL day of Ail 20 LY
oo Ovni Uc G0

204 fu A want ms.

Signature of plaintiff, prisoner number and address of
Plaintiff

I decldre under penalty of perjury that the fo: vegoing is true and correct.
4

lear

(Date) .

’ Signature of plaintiff
